                                    Case 23-12890                 Doc 40          Filed 08/09/23              Page 1 of 7
                                                              United States Bankruptcy Court
                                                                   District of Maryland
In re:                                                                                                                 Case No. 23-12890-DER
Deborah Staudt                                                                                                         Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0416-1                                                  User: admin                                                                Page 1 of 5
Date Rcvd: Aug 07, 2023                                               Form ID: 318                                                            Total Noticed: 177
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 09, 2023:
Recip ID                 Recipient Name and Address
db                     + Deborah Staudt, 8510 Sandy Plains Road, Dundalk, MD 21222-5617
32243535                 Adam Kelly, 900 Hidden Mosh Drive, Baltimore, MD 21230
32243534               + Adam and Tabitha Lipinski, 1935 Crafton Avenue, Dundalk, MD 21222-1709
32298040               + Advance Radiology, 1576 Merritt Blvd., Suite 1, Dundalk, MD 21222-2114
32243536               + Alex Hershaft, 438 E Patapsco Avenue, Brooklyn, MD 21225-1848
32243537               + Alfred Jones and Mattie Miles, 2408 W. Baltimore Street, Baltimore, MD 21223-2133
32298059               + Alice Kelly, 8123 Gray Haven Road, Dundalk, MD 21222-3449
32243538               + Alicia Flannery Pikerton, 3418 Kingfisher Road, Gilmer, TX 75645-7292
32243539               + Alicia Kelly, 8123 Gray Haven Road, Dundalk, MD 21222-3449
32243541               + Andy Doan, 2 Quiet Cove Court, Essex, MD 21221-6084
32243543               + BGE Home, PO Box 13070, Philadelphia, PA 19101-3070
32243544               + Bionetha Cole, 3448 Barkley Woods Road, Windsor Mill, MD 21244-3600
32243545               + Bobbi Pierce and Robert Pierce Jr., 2531 Woodwell Road, Dundalk, MD 21222-2337
32243546               + Brenda Warner, 2222 Redthorne Road, Middle River, MD 21220-4831
32243547               + Broward Neurosurgeons LLC, PO Box 740776, Cincinnati, OH 45274-0776
32243548               + Calvin Wiley, 811 N Marlyn Ave, Essex, MD 21221-2123
32243549               + Camden County Fire Rescue, PO Box 9150, Paducah, KY 42002-9150
32243551               + Carin Smith, 8013 E. Baltimore Street, Baltimore, MD 21224-2012
32243552               + Catherine Sansone, 1733 Lancaster Street #3, Baltimore, MD 21231-3412
32243553               + Charlene Evans, 16 Warren Road, Essex, MD 21221-6930
32243554                 Chris & Shari Zakielarz, 6418 Brinton Lone, Fork, MD 21051
32243555              #+ Chris Brown, 640 Kingston Road, Middle River, MD 21220-4908
32243556               + Ciarra Goodall and Lisa Carroll, 4755 Homesdale Ave, Baltimore, MD 21206-6823
32243557               + City of Baltimore Metered Water, PO Box 17535, Baltimore, MD 21297-1535
32243558               + Claretta Elliot, 7515 Holabird Ave, Dundalk, MD 21222-2103
32243560               + Dana, Jason & Shaw Park, 835 SE Greenhill Road, Pullman, WA 99163-2416
32243561               + Deneen Jackson, 1915 Larkhall Road, Dundalk, MD 21222-5633
32243562               + Department of Public Works, Public Works/Revenue Collections, PO Box 17535, Baltimore, MD 21297-1535
32243563               + Donnell Gilbert, 2316 Bluegrass Heights, Rosedale, MD 21237-1466
32243564               + Dorothy Stout, 8123 Gray Haven Road, Dundalk, MD 21222-3449
32243567               + Enner Alonso and Molses Garcia, 7932 Kavanagh Road, Dundalk, MD 21222-4712
32243568               + Enner Alonzo, 3419 Dunran Road, Dundalk, MD 21222-5947
32243569               + Equity Trust Company, George J. Fair, PO Box 38, Baldwin, MD 21013-0038
32243570               + Equity Trust Company/ Kathryn Fair, PO Box 38, Baldwin, MD 21013-0038
32243571               + Eroc and Adriana Cheeks, 2073 Jasmine Road, Dundalk, MD 21222-5637
32243572               + Evision Physician Services, PO Box 3369, Indianapolis, IN 46206-3369
32243573                 Express Care, 4009 North Point Blvd, Dundalk, MD 21222
32298060               + Fivemile Creek Emergency Physicians LLC, P.O. Box 37852, Philadelphia, PA 19101-0152
32243574               + Florida United Radiology, PO Box 3369, Indianapolis, IN 46206-3369
32298061                 GBMC Health Partners, 8600 LaSalle Road Suite 1100, Towson, MD 21286
32243575               + George Fair, P.O Box 38, Baldwin, MD 21013-0038
32243576               + Georgia Mc Candish and Jamie Grace Alexander, 800 Homestead Street, Baltimore, MD 21218-3535
                            Case 23-12890              Doc 40         Filed 08/09/23            Page 2 of 7
District/off: 0416-1                                       User: admin                                           Page 2 of 5
Date Rcvd: Aug 07, 2023                                    Form ID: 318                                       Total Noticed: 177
32243578        + Harold Washington, 2999 Yorkway, Dundalk, MD 21222-5357
32243579        + Heather and Sonny Godsay, 1904 Jasmine Road, Dundalk, MD 21222-5619
32243580        + Home Depot, PO Box 790420, Saint Louis, MO 63179-0420
32243581          J.D. Evans, 3015 N 15th Street, Lynnwood, WA 98046
32298062        + JHHCG Connections, 5901 Holabird Ave., Baltimore, MD 21224-6015
32243582        + James C. Frank, 305 Hilton Avenue, Catonsville, MD 21228-5709
32243583        + Jem Consulting LLC, 10004 Pulaski Hwy, Middle River, MD 21220-1431
32243584        + Jennifer and Raymond DeBarge, 1943 Haselmere Road, Dundalk, MD 21222-4754
32243585        + Jerry Bloyer JR., 6726 Mallard Road, Middle River, MD 21220-1226
32243587        + Jim Evers, 7342 Better Hours Court, Columbia, MD 21045-5234
32243588        + Joe Vans and Sherri Odonnell, 1917 Gough Street, Baltimore, MD 21231-2639
32243589        + Joelle Bastien, 10448 Silvervine Court, Waldorf, MD 20603-3265
32243590        + John & Kimberly Gelse, 1963 Inverton Road, Dundalk, MD 21222-4756
32243591        + John Debere Swooley, 800 Hamstead Street, Baltimore, MD 21218-3535
32243592        + John Sutt, 2402 Sparrows Point Road, Sparrows Point, MD 21219-1712
32298063        + John and Barbara Sweeley, 612 East 34th Street, Baltimore, MD 21218-2903
32243593        + Josefina Cabarea, 8428 Kavanagh Road, Dundalk, MD 21222-5625
32243594        + Joseph Blouin, 13800 Kennard Drive, Glenelg, MD 21737-9746
32243595        + Joseph Kropfeld, 402 E 39th Street, Baltimore, MD 21218-1841
32243597        + Joyce Toatley, 7504 Heatherfield Drive, Windsor Mill, MD 21244-2051
32243598        + K Miller Properties LLC, 1601 18th Street NW, Washington, DC 20009-2529
32243599          Kaptin Koontz, 2110 Garcy Green Palce, Silver Spring, MD 20910
32243601        + Kathleen Haines, 8428 Kavanagh Road, Dundalk, MD 21222-5625
32298064        + Kauffs of Ft. Pierce, 8920 Glades Cutoff Road, Port Saint Lucie, FL 34986-2701
32243602        + Keith White and Tiairra Rice, 5413 Whitlock Road, Baltimore, MD 21229-1021
32243603        + Kelly Williams, 1621 Foxboro Loop, Crystal River, FL 34429-7687
32243604        + Kenneth Cleaver Jr., 1733 Lancaster Street, Baltimore, MD 21231-3412
32243605        + Kevin Jenkins, 1009 Elton Ave #2, Baltimore, MD 21224-3358
32243606        + Khang Doan, 2 Quiet Cove Court, Essex, MD 21221-6084
32243607        + Kim Williams and Brittanie Veney, 3307 Dundalk Ave, Dundalk, MD 21222-5912
32298047        + Kimberly Bisson, 6803 Bessemer Ave, Dundalk, MD 21222-1115
32243608        + Kimberly Bisson, Jack Ryan Terziu, Esquire, 2211 Eastern Blvd, Baltimore, MD 21220-4224
32243609        + Kimberly Neighoff and Roger Russell, 1704 Melbourne, Dundalk, MD 21222-4821
32243611        + Lanwood Trauma Surgeons, po bOX 740776, Cincinnati, OH 45274-0776
32243612        + Latrice Holmes, 215 N Curley Street, Baltimore, MD 21224-1302
32243613        + Laura Mazel, Tribune Tower, 409 13th Street Suite 1800, Oakland, CA 94612-2605
32243614        + Lauren, 8434 Kavanagh Road, Dundalk, MD 21222-5625
32243615        + Lauren Lewis, 1705 Crystsl Ave, Baltimore, MD 21213-3104
32243616        + Laurie Zyna, 28 Pickersgrill Square, Owings Mills, MD 21117-4511
32298065        + Lawnwood Anesthesia Providers LLC, P.O. Box 745851, Atlanta, GA 30374-5851
32298066        + Lawnwood Healthcare Spec, DBA Lawnwood, P.O. Box 100954, Atlanta, GA 30384-0954
32298067        + Lawnwood Regional Medical Center, P.O. Box 402781, Atlanta, GA 30384-2781
32243618        + Lee Martin and Stewart Thorton, 1926 Codd Ave, Dundalk, MD 21222-4706
32243620        + Lydia Haroun, 1155 Court of Fiddlers of, Green Bel Air, MD 21015-5690
32243632        + MB Properties Myers, Benton LLC, 10332 Main Street, Fairfax, VA 22030-2410
32243621        + Maplewood Properties LLC, 1219 Shady Creek Road, Marriottsville, MD 21104-1448
32243622        + Marcus Brown, 817 Lolan Ave, Dundalk, MD 21222-1340
32243623        + Mario & Fumika Urrutia, 1313 E Madison Street, Baltimore, MD 21205-1412
32243624        + Mark Walker, 33 Holcumb Court, Middle River, MD 21220-3637
32243625        + Marlane Wilford, 2211 Firethorn Road, Middle River, MD 21220-4808
32243626        + Marliz Caraballo, 1443 Broening Hywy, Baltimore, MD 21224-5532
32243627        + Martina Reid, 2000 Laqrkhall Road, Dundalk, MD 21222-5605
32243628        + Mary Clare Williams, 33381 West Post Office Rd, Princess Anne, MD 21853-4005
32243629        + Mary Downeys, 3406 Mary Ave, Baltimore, MD 21214-2024
32243630        + Maryland Department of the Envirnmoent, PO Box 23660, Baltimore, MD 21203-5660
32243631        + Mauriac Alapini and Aaron Bell, 616 E. 29th Street, Baltimore, MD 21218-4226
32243634        + Micaela Algner-Jacobs, 1502 Galena Road, Essex, MD 21221-6008
32243636        + Michael & JoAnne Grul, 2107 S. River Rock Drive, Papillion, NE 68046-8039
32243637        + Michael Becker, 3308 Cornwall Road, Dundalk, MD 21222-6031
32298069        + Michael Blimlime, 1313 E. Madison Street, Baltimore, MD 21205-1412
32243638        + Michael Callis, 1009 Elton Ave #1, Baltimore, MD 21224-3358
32243640        + Michael Gethers and Shanell Kearney, 2154 Firethorn Road, Middle River, MD 21220-4807
32243641        + Michael Lazzaro, PO Box 25873, Baltimore, MD 21224-0573
                                    Case 23-12890                 Doc 40          Filed 08/09/23             Page 3 of 7
District/off: 0416-1                                                  User: admin                                                                Page 3 of 5
Date Rcvd: Aug 07, 2023                                               Form ID: 318                                                            Total Noticed: 177
32243635               + Michael Moody, 461 Crisfield Drive, Abingdon, MD 21009-2060
32243642                 Michael Pettit, 25825 Mews Terrace, Fort Howard, MD 21052
32243643               + Michelle Blimlime, 1313 E. Madison Street, Baltimore, MD 21205-1412
32243644               + Mike Brown, 6212 Falkirk Road, Baltimore, MD 21239-1901
32243648               + Noha Porperties, 1607 Babero Avenue, San Jose, CA 95118-1000
32243649               + Old- Golf Street LLC, 5 Longwood Road, Baltimore, MD 21210-2117
32243650               + Papy Abibayabota, 8829 Punnsbury Place, Rosedale, MD 21237-3922
32243652                 Patrick Gaines, 7828 Lang Street 1, Dundalk, MD 21222
32243653               + Paul Smith, 8613 Quentin Ave #A, Parkville, MD 21234-3830
32243654                 Pitney Bowes, PO Box 981026, Boston, MA 02298-1026
32243658               + Rajesh Chopra, 7819 Wise Avenue, Dundalk, MD 21222-3344
32243660               + Red Brick Properties, P.O Box 38, Baldwin, MD 21013-0038
32243661               + Respectable Management Property, 8510 Sandy Plains Road, Dundalk, MD 21222-5617
32243663               + Richard Kanda, 2610 Liberty Pkywy, Dundalk, MD 21222-4411
32243664               + Richard Ygleslas, 2403 #R Sparrows Point Road, Sparrows Point, MD 21219-1711
32243665               + Robert Bloyer, P.O Box 531, Parkton, MD 21120-0531
32243666                 Robert, Mary & Ciare, Williams 33381 West, Post Office Road, Princess Anne, MD 21853
32243667               + Robin Hodge, 3540 Crain Hwy, Bowie, MD 20716-1303
32243668               + Ruben Muriel and Laysa Santana, 2471 Fairway, Dundalk, MD 21222-3805
32243669               + Rubin Saroukhanian, 425 Carters Glen Drive, Nashville, TN 37221-3473
32243670               + Ruth Boyette, 3720 Murrow Street, New Port Richey, FL 34655-2705
32243671               + Sean Doan, c/o Polished Nails;, 1149 Merritt Blvd, Dundalk, MD 21222-1438
32243672               + Selina Su, 1917 Gough Street A-2, Baltimore, MD 21231-2639
32243673               + Seth Deepak M.D., 207 Wise Avenue, Dundalk, MD 21222-4911
32243674               + Shaerman Murry, Angela Carmichael and Rodney, 715 Melville Ave, Baltimore, MD 21218-2554
32243675               + Sharnice Hughes, 2609 N. Hilton, Baltimore, MD 21216-1925
32298130               + Sheilia Vazquez, 1111 Gladway Road, Middle River, MD 21220-1917
32243676               + Sheilia Vazquez, 1704 Melbourne Road, Dundalk, MD 21222-4821
32298070               + Sherri Odonnell, 1917 Gough Street, Baltimore, MD 21231-2639
32243677               + Skip and Lorraine Hayes, 5320 Patterson Road, Baldwin, MD 21013-9360
32298071               + Southern Crane and Wrecker Service, 3636 Phoenix Avenue, Jacksonville, FL 32206-2357
32243679               + Stacy Cassavaugh, Diana Beecher and Keith Reg, 2075 Larkhall Road, Dundalk, MD 21222-5606
32243680               + Stephen T. Youniss, 19 Fontana Ln, Rosedale, MD 21237-4613
32243681               + Sybil Manning, 3222 Auchentoroly Terrace, Baltimore, MD 21217-1949
32243685               + Theresa Reyes, PO Box 42581, Washington, DC 20015-0581
32243600               + Thomas and Crystal Taylor, 1751 Hilltop Ave, Essex, MD 21221-3038
32243688               + Tony Locastro Family Realty, 924 Judge Court East, West River, MD 20778-2001
32243689               + Towanna Decator, 4222 Berger Ave, Baltimore, MD 21206-3647
32243690               + Troy Young, 13710 Baldwin Mill Road, Baldwin, MD 21013-9703
32243694               + Vacant, 108 Patapsco Ave, Dundalk, MD 21222-4247
32243696               + Vacant, 1917 Gough Street A-1, Baltimore, MD 21231-2639
32243695               + Vacant, 1917 Gough Street B-1, Baltimore, MD 21231-2639
32243692               + Vacant, 1504 Chilworth Ave, Middle River, MD 21220-3610
32243697               + Vacant, 336 Grovethorn Road, Middle River, MD 21220-4801
32243693               + Vacant, 2601 E monument Street, 2nd floor, Baltimore, MD 21205-2616
32243698               + Valene Ahmed and Michelle DeVincentz, 54 Whittshire Road, Essex, MD 21221-6932
32243699               + Van Doan, 9807 Harford Road, Parkville, MD 21234-1941
32243700               + Vanzant Group, 2714 Sparrows Point - Storage, Sparrows Point, MD 21219-1343
32243702               + Victoria Beasley, P.O Box 6534, Columbia, MD 21045-6534
32243705               + Wilder Castillo, Vilma Chavez and Dorlian Cas, 8052 Kimberly Road, Dundalk, MD 21222-2601
32243706               + Willaim Ray, 13 Macintosh Court, Middle River, MD 21220-1752
32243707               + William Coles, 13120 Chapel Hills Drive, Fredericksburg, VA 22407-2024
32243708               + William Hillard, 54 Scott Adams Road, Cockeysville, MD 21030-3351
32298141               + William Ray, 13 Macintosh Court, Middle River, MD 21220-1752
32243709               + William Wilson, 38 Riviera Court, Charles Town, WV 25414-4069

TOTAL: 160

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
32244249                  Email/Text: bankruptcy@baltimorecountymd.gov
                                                                                        Aug 07 2023 19:10:00      Deputy County Attorney, Baltimore County Office
                                  Case 23-12890               Doc 40         Filed 08/09/23             Page 4 of 7
District/off: 0416-1                                              User: admin                                                            Page 4 of 5
Date Rcvd: Aug 07, 2023                                           Form ID: 318                                                        Total Noticed: 177
                                                                                                            of Law, 400 Washington Avenue, 2nd Floor,
                                                                                                            Towson, MD 21204
32244246                 Email/Text: Bankruptcymail@marylandtaxes.gov
                                                                                   Aug 07 2023 19:10:00     Comptroller of the Treasury, Compliance Division,
                                                                                                            Room 409, 301 W. Preston Street, Baltimore, MD
                                                                                                            21201
32243559              + Email/Text: bankruptcy@credencerm.com
                                                                                   Aug 07 2023 19:11:00     Credence Resource Management, LLC, PO Box
                                                                                                            2090, Southgate, MI 48195-4090
32243566              + Email/Text: PBA_Legal@duvasawko.com
                                                                                   Aug 07 2023 19:11:04     Emergency Resources Group, PO Box 11349,
                                                                                                            Daytona Beach, FL 32120-1349
32243577              + Email/Text: tdillon@gulfcoastcollection.com
                                                                                   Aug 07 2023 19:10:00     Gulf Coast Collection Bureau Inc., PO Box 21239,
                                                                                                            Sarasota, FL 34276-4239
32298068              + Email/Text: UIBankruptcyNotices.DLLR@maryland.gov
                                                                                   Aug 07 2023 19:11:00     Maryland Department of Labor, 1100 North Eutaw
                                                                                                            Street, Baltimore, MD 21201-2226
32243633              + EDI: PARALONMEDCREDT
                                                                                   Aug 07 2023 23:03:00     Medicredit, PO Box 505600, Saint Louis, MO
                                                                                                            63150-5600
32243656              + Email/Text: BankruptcyMail@questdiagnostics.com
                                                                                   Aug 07 2023 19:11:00     Quest Diagnostics, PO Box 740880, Cincinnati,
                                                                                                            OH 45274-0880
32243657              + Email/Text: ngisupport@radiusgs.com
                                                                                   Aug 07 2023 19:10:00     Radius Global Solutions, PO Box 390915,
                                                                                                            Minneapolis, MN 55439-0911
32243682              + EDI: RMSC.COM
                                                                                   Aug 07 2023 23:02:00     SYNCB/JCP, PO Box 965005, Orlando, FL
                                                                                                            32896-5005
32243683              + EDI: RMSC.COM
                                                                                   Aug 07 2023 23:02:00     SYNCB/Score Rewards, PO Box 960012,
                                                                                                            Orlando, FL 32896-0012
32244248              + Email/Text: UIBankruptcyNotices.DLLR@maryland.gov
                                                                                   Aug 07 2023 19:11:00     State of Maryland DLLR, Division of
                                                                                                            Unemployment Insurance, 1100 N. Eutaw Street,
                                                                                                            Room 401, Baltimore, MD 21201-2226
32244247              + Email/Text: Bankruptcy_group@baltimorecity.gov
                                                                                   Aug 07 2023 19:10:00     Supervisor of Delin. Accts., Abel Wolman
                                                                                                            Municipal Building, 200 Holliday Street- Room #1
                                                                                                            Bankruptcy, Baltimore, MD 21202-6295
32243703              + EDI: WFFC2
                                                                                   Aug 07 2023 23:02:00     Wells Fargo Bank NA, P.O Box 6995, Portland,
                                                                                                            OR 97228-6995
32312627                 EDI: WFFC2
                                                                                   Aug 07 2023 23:02:00     Wells Fargo Bank, N.A., Wells Fargo Card
                                                                                                            Services, PO Box 10438, MAC F8235-02F, Des
                                                                                                            Moines, IA 50306-0438
32243704              + EDI: WFFC2
                                                                                   Aug 07 2023 23:02:00     Wells Fargo Card Services, PO Box 14517, Des
                                                                                                            Moines, IA 50306-3517
32243684              + EDI: RMSC.COM
                                                                                   Aug 07 2023 23:02:00     syncb/scorerewards, PO Box 965005, Orlando, FL
                                                                                                            32896-5005

TOTAL: 17


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
32243550                      Caressa Gibson, INVALID ADDRESS PROVIDED
32243586                      Jerry Bloyer Sr., INVALID ADDRESS PROVIDED
32243596                      Joshua Baker, INVALID ADDRESS PROVIDED
32243610                      Kyle Fuerst and Matthew Goedeke, INVALID ADDRESS PROVIDED
32243617                      Lavina Anderson, INVALID ADDRESS PROVIDED
32243619                      Linda Corwin, INVALID ADDRESS PROVIDED
32243645                      Nakia Simmons, INVALID ADDRESS PROVIDED
32243651                      Patricia Parkis, INVALID ADDRESS PROVIDED
32243655                      Quality Pathology Group Inc., INVALID ADDRESS PROVIDED
32243662                      Rhonda Holley, INVALID ADDRESS PROVIDED
                                  Case 23-12890                Doc 40        Filed 08/09/23            Page 5 of 7
District/off: 0416-1                                               User: admin                                                          Page 5 of 5
Date Rcvd: Aug 07, 2023                                            Form ID: 318                                                      Total Noticed: 177
32243678                         Southeast Georgia Health System, INVALID ADDRESS PROVIDED
32243686                         Theresa Reyes, INVALID ADDRESS PROVIDED
32243701                         Viacheslav, INVALID ADDRESS PROVIDED
cr                 *+            Kimberly Bisson, 6803 Bessemer Avenue, Dundalk, MD 21222-1115
32243687           *+            Thomas and Crystal Taylor, 1751 Hilltop Ave, Essex, MD 21221-3038
32243540           ##+           Alikia Shabazz, 146 Carver Road, Dundalk, MD 21222-6201
32243542           ##+           Anne and Victor Mowrey, 2401 Sparrows Point Road, Sparrows Point, MD 21219-1711
32243565           ##+           Ellen Carter, 2624 Liberty Parkway, Dundalk, MD 21222-4411
32243639           ##+           Michael Carter, 4224 Herrera Court, Randallstown, MD 21133-1220
32243646           ##+           Natalie Fava and Sarah Zuck, 7716 Eastdale Road, Baltimore, MD 21224-2013
32243647           ##+           Nick Norellli, 1421 S. Hanover Street, Baltimore, MD 21230-4438
32243659           ##+           Ratyshia Copeland, 7925 Kavanagh Road, Dundalk, MD 21222-4713
32243691           ##+           Tyrell and Shalinda Payne, 1126 Wedgewood Road, Baltimore, MD 21229-1147

TOTAL: 13 Undeliverable, 2 Duplicate, 8 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 09, 2023                                        Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 7, 2023 at the address(es) listed
below:
Name                             Email Address
Brian A. Cavanaugh
                                 brian.cavanaughlaw@gmail.com lawofficebrian@netzero.net

Jack Ryan Terziu
                                 terziulaw@gmail.com

Morgan W. Fisher
                                 trustee@morganfisherlaw.com MD65@ecfcbis.com,fisher@premierremote.com


TOTAL: 3
                                     Case 23-12890               Doc 40     Filed 08/09/23           Page 6 of 7
Entered: August 7, 2023
Signed: August 7, 2023

SO ORDERED




Information to identify the case:
Debtor 1              Deborah Staudt                                              Social Security number or ITIN   xxx−xx−7511
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Maryland

Case number: 23−12890 DER                    Chapter: 7

Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:
       Deborah Staudt
       dba Respectable Property Management


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >
Official Form 318                                            Order of Discharge                            page 1
                          Case 23-12890           Doc 40     Filed 08/09/23       Page 7 of 7




Some debts are not discharged                              Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:             agreement are not discharged.

     ♦ debts that are domestic support                     In addition, this discharge does not stop
       obligations;                                        creditors from collecting from anyone else who is
                                                           also liable on the debt, such as an insurance
                                                           company or a person who cosigned or
     ♦ debts for most student loans;                       guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                            page 2
